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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

BODUM USA, INC., and PI-DESIGN AG,

                 Plaintiffs,
       v.                                            Case No. 1:23-cv-02946

STARBUCKS CORPORATION,                               Hon. Andrea R. Wood

                   Defendant.


             ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

       NOW COMES Defendant Starbucks Corporation (“Starbucks”) and respectfully submits

this answer in response to the Amended Complaint of Plaintiff Bodum USA, Inc. and Pi-Design

AG (collectively “Bodum,” and together with Starbucks, the “Parties”). Starbucks generally

denies each and every allegation of the Amended Complaint not expressly admitted. To the extent

Starbucks incorporates Bodum’s headings into this Answer, Starbucks does so for organizational

purposes only and does not admit any of the allegations in Bodum’s headings. To the extent

allegations exist in any headings that Starbucks does not incorporate into this Answer, Starbucks

denies the allegations in said headings. Starbucks reserves the right to amend its Answer consistent

with the facts discovered in the case. Starbucks hereby specifically answers the Amended

Complaint as follows:

                                     NATURE OF ACTION

       1.      Answering paragraph 1, Starbucks admits that the Amended Complaint purports to

seek damages for breach of contract with respect to the sale of a French press coffeemaker, but

Starbucks denies that claim has any merit. Starbucks denies the remaining allegations in this

paragraph.
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                                         THE PARTIES

       2.      Answering paragraph 2, Starbucks lacks sufficient knowledge or information

necessary to admit or deny, and therefore denies the allegations in this paragraph.

       3.      Answering paragraph 3, Starbucks lacks sufficient knowledge or information

necessary to admit or deny, and therefore denies the allegations in this paragraph.

       4.      Answering paragraph 4, Starbucks lacks sufficient knowledge or information

necessary to admit or deny, and therefore denies the allegations in this paragraph.

       5.      Starbucks admits the allegations in paragraph 5.

                                JURISDICTION AND VENUE

       6.      Answering paragraph 6, Starbucks admits this Court has subject matter jurisdiction

over this action, but denies the remaining allegations in this paragraph.

       7.      Starbucks admits the allegations in paragraph 7.

                            FACTS COMMON TO ALL COUNTS

       8.      Answering paragraph 8, Starbucks lacks sufficient knowledge or information

necessary to admit or deny, and therefore denies the allegations in this paragraph.

       9.      Answering paragraph 9, Starbucks lacks sufficient knowledge or information

necessary to admit or deny, and therefore denies the allegations in this paragraph.

       10.     Answering paragraph 10, Starbucks lacks sufficient knowledge or information

necessary to admit or deny, and therefore denies the allegations in this paragraph.

       11.     Answering paragraph 11, Starbucks lacks sufficient knowledge or information

necessary to admit or deny, and therefore denies the allegations in this paragraph.

       12.     Answering paragraph 12, Starbucks lacks sufficient knowledge or information

necessary to admit or deny, and therefore denies the allegations in this paragraph.




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       13.     Answering paragraph 13, Starbucks admits that Starbucks has purchased products

from Bodum, including French presses, at various times in the past three decades, but denies the

remaining allegations in this paragraph.

       14.     Starbucks denies the allegations in paragraph 14.

       15.     Answering paragraph 15, Starbucks states that the Confidential Settlement

Agreement and Release (“2008 Agreement”) is the best evidence of the content and factual

assertions set forth in this paragraph, and to the extent this paragraph asserts factual or legal

allegations different from or unsupported by the referenced document, those allegations are denied.

       16.     Starbucks admits the allegations in paragraph 16.

       17.     Starbucks denies the allegations in paragraph 17.

       18.     Starbucks denies the allegations in paragraph 18.

       19.     Starbucks denies the allegations in paragraph 19.

       20.     Starbucks denies the allegations in paragraph 20.

       21.     Starbucks denies the allegations in paragraph 21.

       22.     Answering paragraph 22, Starbucks admits that it sold and is currently selling an

off-the-shelf Espro-branded French press coffeemaker (“Espro Product”), but denies the remaining

allegations of this paragraph.

       23.     Answering paragraph 23, Starbucks admits that the Espro Product is being sold in

certain Starbucks stores in the United States, but lacks sufficient knowledge or information

necessary to admit or deny the remaining allegations, and therefore denies the remaining

allegations in this paragraph.

       24.     Answering the first sentence of paragraph 24, Starbucks admits senior leadership

at Bodum met with Kelly Bengston, Senior Vice President and Chief Procurement Officer at




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Starbucks in late 2022. Answering the second sentence of paragraph 24, Starbucks admits that

Bodum leadership stated its interpretation of the 2008 Agreement, but Starbucks never agreed with

that interpretation and denies such interpretation is correct and further denies that Starbucks sale

of a competing French press violates any contractual obligation of Starbucks. Starbucks denies

the remaining allegations in this paragraph.

        25.       Answering paragraph 25, Starbucks admits that it continues to sell the Espro

Product, and denies the remaining allegations in this paragraph.

        26.       Answering paragraph 26, Starbucks admits that counsel for Bodum sent a Notice

of Breach letter to Starbucks dated December 14, 2022, but denies the remaining allegations in

this paragraph.

        27.       Starbucks admits it continued to sell the Espro Product after receiving Bodum’s

December 14, 2022 letter and denies that doing so breached the 2008 Agreement.

        28.       Starbucks denies the allegations in paragraph 28.

                          COUNT I: BREACH OF 2008 AGREEMENT

        29.       Starbucks realleges and incorporates all preceding paragraphs of this Answer as if

fully set forth herein.

        30.       Answering paragraph 30, Starbucks states that the allegations in this paragraph

contain conclusions of law to which no response is required, and therefore denies the allegations

in this paragraph.

        31.       Answering paragraph 31, Starbucks states that the allegations in this paragraph

contain conclusions of law to which no response is required, and therefore denies the allegations

in this paragraph.

        32.       Starbucks denies the allegations in paragraph 32.




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        33.     Starbucks denies the allegations in paragraph 33.

                                      PRAYER FOR RELIEF

        WHEREFORE, Defendant, Starbucks Corporation, denies that Plaintiff is entitled to any

of the relief request in the “Wherefore” clause, and respectfully requests that the Court dismiss the

Amended Complaint in its entirety, and enter judgment in favor of Starbucks and against Bodum.

                                   AFFIRMATIVE DEFENSES

        Without assuming Bodum’s burden of proof on any issue, Starbucks alleges the following

affirmative defenses. The full extent to which Bodum’s claims may be barred by one or more

affirmative defenses, if not specifically set forth below, cannot be determined until Starbucks has

had an opportunity to complete discovery. Therefore Starbucks reserves the right to assert

additional defenses in the event discovery indicates that would be appropriate. In asserting the

following affirmative defenses, Starbucks repeats and realleges each and every allegation set forth

above, as well as those set forth in its Counterclaim infra, as if fully set forth therein.

                                         FIRST DEFENSE

        The Amended Complaint fails to state a claim upon which relief may be granted against

Starbucks.

                                        SECOND DEFENSE

        The Amended Complaint fails because Bodum has not suffered any damage or injury as a

result of any act or conduct of Starbucks.

                                         THIRD DEFENSE

        The Amended Complaint fails because Bodum’s damages, if any, were not caused, in

whole or in part, by the alleged conduct of Starbucks.

                                        FOURTH DEFENSE




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       Bodum has failed to mitigate its alleged damages.

                                      FIFTH DEFENSE

       The Amended Complaint is barred by Bodum’s own breach of contract.

                                      SIXTH DEFENSE

       The Amended Complaint is barred by the doctrine of estoppel.

                                    SEVENTH DEFENSE

       The Amended Complaint is barred by Bodum’s unclean hands.

                                     EIGHTH DEFENSE

       The Amended Complaint is barred by waiver and/or laches.

                                      NINTH DEFENSE

       The Amended Complaint is barred due to no meeting of the minds with respect to the

essential terms of Section 1 of the 2008 Agreement.

                                      TENTH DEFENSE

       The Amended Complaint is barred due to ambiguity of the essential terms of Section 1 of

the 2008 Agreement.

                                   ELEVENTH DEFENSE

       The Amended Complaint is barred because Section 1 of the 2008 Agreement, as interpreted

by Bodum, constitutes an unenforceable restraint of trade.

                                    TWELFTH DEFENSE

       The Amended Complaint is barred on grounds of unilateral or mutual mistake. A basic

premise of the 2008 Agreement was that Bodum could produce evidence that the Chambord

French Press had acquired a secondary meaning, when in fact it could not do so at that time.

                                  THIRTEENTH DEFENSE




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       The Amended Complaint is barred on grounds that Section 1 of the 2008 Agreement, as

interpreted by Bodum, is an agreement in perpetuity that is terminable at will.

                                      COUNTERCLAIM

       Counterclaimant, Starbucks Corporation (“Starbucks”), alleges the following counterclaim

for Declaratory Judgment against Bodum USA, Inc. and Pi-Design, AG (together “Bodum,” and

together with Starbucks, the “Parties”) as follows:

                                  NATURE OF THE CLAIMS

       1.      Fifteen years ago, Bodum and Starbucks settled a litigation involving a claim of

trade dress infringement (“2008 Agreement”).

       2.      Now, Bodum seeks to create new terms in the 2008 Agreement that never existed

– specifically, to impose a perpetual obligation on Starbucks to purchase French press

coffeemakers exclusively from Bodum, or offer Bodum the first right of refusal for such products.

       3.      Bodum’s new interpretation of the 2008 Agreement is not supported by the plain

language of the agreement, the intent of the Parties, or the interpretation of the agreement as

evidenced in prior litigation.

       4.      Bodum’s Amended Complaint asks the Court to grant it exclusivity rights the

Parties never contemplated, bargained for, or agreed to.

                                            PARTIES

       5.      On information and belief, Bodum USA Inc., is in the business of importing,

distributing, and selling housewares, including French press coffeemakers.

       6.      Bodum product sales occur in this Judicial District.

       7.      On information and belief, Pi-Design AG is headquartered in Lucerne, Switzerland,

and is a subsidiary of Bodum Holding AG.




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        8.       Bodum USA is a licensee of Pi-Design AG in the United States.

        9.       Starbucks is a corporation organized and existing under the laws of the State of

Washington with its principal place of business in Seattle, Washington.

                                  JURISDICTION AND VENUE

        10.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a) because there is complete diversity of citizenship between the Parties, and the amount

in controversy exceeds $75,000, exclusive of interests and costs.

        11.      Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C.

§ 1391(b)(2) because the events giving rise to execution of the 2008 Agreement occurred in this

District.

                                              FACTS

                          Bodum’s 2007 Lawsuit and the 2008 Agreement

        12.      On or about January 14, 2008, Starbucks, Bodum USA, Inc., and PI-Design AG

entered into an agreement entitled “Confidential Settlement Agreement and Release” (the “2008

Agreement”), the terms of which are confidential.

        13.      The 2008 Agreement resolved a lawsuit initiated by Bodum against Starbucks in

2007 captioned Bodum USA, Inc. and Pi-Design AG v. Starbucks, Inc., C.A. No. 07-5303 (N.D.

Ill. 2007), which alleged, among other things, that a Starbucks French press coffeemaker referred

to as the “Anniversary Press” infringed Bodum’s purported Chambord trade dress under 15 U.S.C.

§ 1125(a) (“2007 Lawsuit”). Starbucks filed an Answer and Affirmative Defenses in the case

(Dkt. No. 15).

        14.      In the 2007 Lawsuit, in addition to its trade dress allegations, Bodum alleged that

it had presented a prototype to Starbucks during the design and development phase of the




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Parties at the time the 2008 Agreement was negotiated and executed.

       24.     Bodum’s allegations in paragraphs 18-21 of the Amended Complaint are also

inconsistent with Bodum’s prior representations.

                       Bodum’s changing interpretations of the 2008 Agreement

       25.     The Amended Complaint is the first lawsuit in which Bodum construes the 2008

Agreement as an exclusivity agreement.

       26.     In a 2019 lawsuit against Starbucks, captioned Bodum Holding AG et al v.

Starbucks Corporation, C.A. 1:19-cv-04280-ER (S.D.N.Y 2019), Bodum identified specific

double-walled glassware products it allegedly “proposed” to Starbucks, and further alleged that

Starbucks breached the 2008 Agreement by selling non-Bodum double-walled glass products

because those products

                                (“2019 Lawsuit”). Id., Dkt. No. 93, ¶¶ 105–107.

       27.     Bodum did not allege in the 2019 Lawsuit, as it does in this Amended Complaint,

that the 2008 Agreement granted Bodum exclusivity or first right of refusal with respect to French

press product offerings, or any other product developed or sold by Starbucks.

       28.     Nor did Bodum previously claim that any of the French press coffeemakers

Starbucks sourced from other suppliers and sold over the years breached the 2008 Agreement.

       29.     Under Bodum’s new interpretation of the 2008 Agreement, Starbucks is foreclosed

in perpetuity from offering its customers French press coffeemakers that are more affordable or of

higher quality than what Bodum may offer unless Bodum agrees that Starbucks may do so. Not

only is this not what the 2008 Agreement states, but Starbucks would never have agreed to such a

provision. No reasonable company would.




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                                         The Espro Press

       30.     Starbucks has no contractual obligation to purchase French press coffeemakers or

any other product exclusively from Bodum, or to offer Bodum the first right of refusal for the sale

of any French press coffeemaker or other product.

       31.     In March 2022, Starbucks began selling an off-the-shelf French press coffeemaker

developed by Espro (or its parent entity Regal Ware, Inc.) (“Espro Press”).

       32.     Starbucks has offered the Espro Press for sale at select Starbucks Reserve locations

in the United States.

       33.     On information and belief, Espro has been offering the Espro Press for sale in the

United States from as early as June 18, 2019, and—in Canada—from as early as April 19, 2017.

       34.     On further information and belief, Bodum has asserted no violation of its

intellectual property or trade dress rights against Espro or Regal Ware, Inc. in connection with the

Espro Press, which would be expected if Bodum truly believed the press embodied Bodum’s

proprietary designs.

       35.     The Espro Press is an off-the shelf-product, meaning Starbucks had no input in the

design or development of the Espro Press.

       36.     Starbucks therefore neither



with respect to the Espro Press as contemplated in Section 1 the 2008 Agreement.

                          COUNT I: DECLARATORY JUDGMENT

       37.     Starbucks repeats and incorporates by reference each and every allegation set forth

in paragraphs 1–36.

       38.     There exists an actual, imminent and justiciable controversy between Starbucks and




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Bodum regarding the enforceability and interpretation of Section 1 of the 2008 Agreement.

        39.     In addition, there exists an actual, imminent and justiciable controversy between

Starbucks and Bodum regarding whether Section 1 imposes any obligation on Starbucks to

purchase French press coffeemakers or other products from Bodum.

        40.     Resolution of this issue through the declaratory judgment procedure will enable the

Parties to adjudicate their rights at this time and thus avoid any possible harm from delay in

resolving the issue.

        41.     Starbucks therefore requests a judicial determination that Section 1 of the 2008

Agreement is unenforceable against Starbucks under Illinois law on grounds that (1) material terms

of Section 1 concerning Starbucks sale of non-Bodum products are ambiguous; (2) there was no

meeting of the minds or mutual assent to essential terms of Section 1 concerning Starbucks sale of

non-Bodum products; and (3) Section 1, as interpreted by Bodum, is an unreasonable noncompete

agreement in restraint of trade.

        42.     Alternatively, in the event that this Court holds that the 2008 Agreement is an

exclusivity agreement or right of first refusal, which Starbucks disputes, Starbucks requests a

judicial determination that the 2008 Agreement is a contract of indefinite duration and terminable

at will under Illinois law.

                                      PRAYER FOR RELIEF

                WHEREFORE, Starbucks prays for judgment as follows:

                A.      A declaratory judgment that (1) Section 1 of the 2008 Agreement is

                unenforceable against Starbucks; and/or, alternatively, (2) the 2008 Agreement is

                terminable at will.

                B.      Such other relief that this Court deems just and proper.




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DATED: June 14, 2023                Respectfully submitted,



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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2023, I caused a true and correct copy of the foregoing

document to be served upon all counsel of record via the Court’s ECF system.

                                             /s/ Kari L. Vander Stoep

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